      Case 1:18-cv-00829-SCY-JFR Document 27 Filed 12/06/18 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO


JOHN VIGIL,

      Plaintiff,

v.                                                           Case No. 18-CV-00829

FRANCES TWEED, et al.,

      Defendants.

                        Notice of Completion of Briefing –
                      Defendants’ Motion to Dismiss [Doc. 16]

      COME NOW the Defendants Frances Tweed, Antonio Coca, Joe Chavez

and the New Mexico Department of Health, by and through their attorneys, Long,

Komer & Associates, P.A. and hereby give the Court notice, pursuant to Rule 7.4 of

the Local Rules of Civil Procedure, that Defendants’ Motion to Dismiss [Doc. 16,

filed 10/12/18] has been fully briefed and is ready for decision. The following

pleadings have been filed which are related to the said motion:

      1.     Motion to Dismiss, [Doc. 16, filed 10/12/18];

      2.     Plaintiff’s Response In Opposition to Defendants’ Motion to Dismiss,
             [Doc. 23, filed 11/05/18]; and

      3.     Defendants’ Reply in Support of Motion to Dismiss [Doc. 26, filed
             12/05/18].
      Case 1:18-cv-00829-SCY-JFR Document 27 Filed 12/06/18 Page 2 of 2



                               Respectfully submitted,


                               LONG, KOMER & ASSOCIATES, P.A.
                               Attorneys for Defendants Tweed, Coca,
                               Chavez and New Mexico Department
                               of Health


                               /s/ Mark E. Komer
                               MARK E. KOMER
                               P. O. Box 5098
                               Santa Fe, NM 87502-5098
                               505-982-8405
                               mark@longkomer.com
                               email@longkomer.com

                           CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 6th day of December 2018, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or

counsel to be served by electronic means, as more fully reflected on the Notice of

Electronic Filing:


Joe M. Romero, Jr.
joe@romeroandwinder.com

Attorneys for Plaintiffs

Christina L.G. Brennan
James P. Sullivan
christina@brennsull.com
jamie@brennsull.com

Attorneys for County Defendants



                                     By:    s/ Mark E. Komer
                                            Mark E. Komer
